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)

Plaintiff )
) Case No. 23-CR-145
ZIV BITON, )
KATE SPENCER,
Defendants.

WAIVER OF CONELICT OF INTEREST AS TO JOINT REPRESENTATION

 

Ante Ziv
l___ SPENCER and BITON __ have, after being fully explained to upon any future

and or past conflicts regarding your representation in Federal Criminal Court and after having had
the opportunity to discuss this matter with independent counsel, you, by signing this agreement,
agree, voluntarily that you are making an informed intelligent decision, being of sound mind, and

continue to desire to be represented by joint counsel.

Although the interests of both of you are consistent, you both acknowledge and recognize that
differences may exist or become evident during the course of our representation.
Notwithstanding these possibilities, the two of you have decided that it is in your individual and
mutual interests to have one, single attorney represent you both jointly in connection with this
matter. You both understand, as has been previously explained to you, individually that certain
circumstances could arise whereby our continuing representation of you could arise wherein our
continuing representation of both could affect the legal rights of one of you more than the other.
However, counsel for both of you, by signing this agreement guarantee’s that he will continue his

undivided loyalty of the joint representation .

in the event that the U.S. Government intends to call one of you as witness against the other, we
will be forced to withdraw and it will be necessary for you to retain independent counsel or seek
the appointment of a free attorney by the Federal Government, In light of that possibility, we
recommend that you both seek independent legal counsel to determine whether or not joint
representation would be in your best interests. Whether or not you do so, however, is up to you.
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Accordingly, this confirms that your joint representation agreement/waiver to have Mr. Gerson
represent you jointly In connection with the above styled cause. This will also confirm that you
both have had the opportunity to seek the opinion of independent counsel, and aze making the
decision to be jointly represented intelligently and knowingly after having had the opportunity to
address and contemplate the above Issues. This will also confirm that that you both have each
agreed to waive any conflict of interest arising out of our representation of both of you In the
matter described herein. Therefore, you hereby state that you prefer that Paul Gerson, Esquire
jointly represent you in the matter described herein. And you are waiving your right to

independent counsel.

Finally, neither of you should assume that anything you say to us will be held in confidence from
the other party as we will have a legal and ethical duty to tell the other (undivided loyalty) party

anything that one of you tells us in confidence; but only if it has any relevancy at all to the legal
issues at hand. In fact, failure to reveal such information to the other party would be a violation of

the joint attorney-client relationship. in other words, the conversations that you have with us are
not privileged as between the two of you.

if you have any questions about this agreement or any issues therein, you can contact us twenty
four (24) hours a day, seven days a week. However, if you agree that the foregoing accurately

reflects your understanding, and you have had the chance to contemplate this decision
knowingly, and voluntarily, please sign it in the area below and return it to our office.

Respectfully Submitted,
Paul F. Gerson, Esq.

Paul F. Gerson, Esq.

Ziv Biter

Ziv Biton (print name) Ziv Biton (signature)
AnTe SPENCER a
Kate Spencer (print name) Kate Spencer (signature)

Date: MAY 2, 2024 Date: MAN 2, 2023
